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                     THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                          §
                                                §
FREE SPEECH SYSTEMS, LLC,                       §          Case No. 22-60043
                                                §
                              DEBTOR.           §          Chapter 11 (Subchapter V)
                                                §

                     DESIGNATION OF RECORD ON APPEAL AND
                        STATEMENT OF ISSUES ON APPEAL

         W. Marc Schwartz and Schwartz Associates LLC (collectively “Schwartz” or

“Appellant”), pursuant to Rule 8006 of the Federal Rules of Bankruptcy Procedure, files this

Designation of Record on Appeal and Statement of Issues on Appeal, as follows:

                               DESIGNATION OF RECORD

         1.   All pleadings, motions, exhibits, orders, transcripts, documents, and other matters

on the docket sheet through and including January 20, 2023 [Dkt. Nos. 1-407] from Bankruptcy

Case No. 22-60043 (the “Bankruptcy Case”).

         2.   All exhibits admitted at hearings and trials in the Bankruptcy Case through and

including January 20, 2023.

         3.   The transcripts for the hearings in the Bankruptcy Case on (a) August 1, 2022; (b)

August 3, 2022; (c) August 12, 2022; (d) August 24, 2022; (e) August 29, 2022; (f) September 13,

2022; (g) September 20, 2022; (h) December 19, 2022; and (i) January 20, 2023.

                          STATEMENT OF ISSUES ON APPEAL

         1.   Did the U.S. Bankruptcy Court for the Southern District of Texas (the “Bankruptcy

Court”) err in entering the Order Denying Motion for Rehearing on Debtor’s Application to

Employ Schwartz (the “Order Denying the Schwartz Rule 59 Motion”)?



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       2.     Was the Bankruptcy Court’s ruling reflected in the Order Denying the Schwartz

Rule 59 Motion based on one or more clearly erroneous findings of fact?

       3.     Was the Bankruptcy Court’s ruling reflected in the Order Denying the Schwartz

Rule 59 Motion based on one or more erroneous legal conclusions?

       4.     Was the Bankruptcy Court’s ruling reflected in the Order Denying the Schwartz

Rule 59 Motion based on one or more erroneous applications of the law to the facts?


Dated: February 16, 2023                    Respectfully submitted,

                                            By: /s/Michael P. Ridulfo
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                                                 Associates, LLC




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                                        CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served on the
parties listed below via the Court’s CM/ECF system on all parties registered to receive such service
in the above-captioned case and via U.S.P.S. first class mail on the following parties:

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                                                        /s/ Michael P. Ridulfo
                                                            Michael P. Ridulfo




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